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10

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               No. EDCR 18-0047-GW

14             Plaintiff,
                                             ORDER TO CONTINUE SENTENCING
15                  v.                       HEARING
16   WENDELL MARK STREET,

17             Defendant.

18

19        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the
20   sentencing hearing in this matter be continued from July 16, 2020, at
21   8:00 a.m., to August 20, 2020, at 8:00 a.m.
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24   Dated: July 13, 2020              ___________________________________
                                       HONORABLE GEORGE H. WU
25                                     United States District Judge
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